       Case 2:20-cv-02561-CDJ         Document 10      Filed 08/14/20      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GREG PROSMUSHKIN, P.C.;                        :
GREG PROSMUSHKIN; and,
IRINA PROSMUSHKIN                                          CIVIL ACTION
              Plaintiffs,                      :           NO. 20-2561
          v.

THE HANOVER INSURANCE GROUP                    :
               Defendant.


                                           ORDER

       AND NOW, this 14th day of August 2020, upon consideration of: Plaintiffs’ Motion to

Remand (ECF No. 5); Defendant’s Response thereto (ECF Nos. 6, 7); and Plaintiffs’ Reply (ECF

No. 8), it is hereby ORDERED as follows:

              (1)     Plaintiffs’ Motion (ECF No. 5) is GRANTED and the above-captioned
                      matter is REMANDED to the Philadelphia Court of Common Pleas;
              (2)     Defendant’s Counterclaim (ECF No. 4) is DISMISSED without prejudice
                      to raise same in State Court; and,
              (3)      The Clerk of Court shall mark this matter CLOSED.




                                                         BY THE COURT:

                                                         /s/ C. Darnell Jones, II J.
